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   LLC and Lockton Companies LLC – Pacific Series
14
                               UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
16                                 SAN FRANCISCO DIVISION

17   CEDRIC DE LISSER, CHRISTOPHER MOSER, Case No. 3:23-cv-00243-JD
     and MICHAEL MICHELIN, in their capacity as
18   the Trustees of the Cred Liquidation Trust, [Removal from Superior Court of
                                                 California, County of San Francisco,
19                  Plaintiffs,                  Case No. CGC-22-603638]

20          v.                                    REQUEST FOR JUDICIAL NOTICE
                                                  IN SUPPORT OF OPPOSITION TO
21   LOCKTON INSURANCE COMPANY LLC,               PLAINTIFF’S MOTION TO REMAND
     d/b/a LOCKTON INSURANCE BROKERS
22   LLC, a Missouri limited liability company;
     LOCKTON COMPANIES, LLC – PACIFIC
23                                                State Action Filed: December 22, 2022
     SERIES, d/b/a LOCKTON INSURANCE
24   BROKERS LLC, a Missouri limited liability    Hearing Date: March 30, 2023
     company; and DOES 1-10, inclusive.
25                                                Hearing Time: 10:00 a.m. Pacific
                   Lockton.
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 1          Defendants Lockton Insurance Company LLC and Lockton Companies, LLC – Pacific

 2 Series (collectively, “Lockton”) respectfully request that the Court take judicial notice pursuant to

 3 Federal Rule of Evidence 201 of the following documents, copies of which are attached to the

 4 Declaration of Terry L. Wit, filed contemporaneously herewith:

 5          •   Exhibit A: a true and accurate copy of the Modified First Amended Combined Joint Plan
 6              of Liquidation and Disclosure Statement of Cred Inc. and Its Subsidiaries Under Chapter

 7              11 of the Bankruptcy Code filed in the United States Bankruptcy Court for the District

 8              of Delaware in Case No. 20-bk-12836 (the “Bankruptcy Action”) on April 16, 2021

 9              (Bankr. ECF 722).

10          •   Exhibit B: a true and accurate copy of the Order Confirming and Approving on a Final
11              Basis Modified First Amended Combined Plan of Liquidation and Disclosure Statement

12              of Cred Inc. and its Subsidiaries Under Chapter 11 of the Bankruptcy Code filed in the

13              Bankruptcy Action on March 11, 2021 (Bankr. ECF 629).

14          •   Exhibit C: a true and accurate copy of the Report of Robert J. Stark, Examiner filed in
15              the Bankruptcy Action on March 8, 2021 (Bankr. ECF 605).

16          •   Exhibit D: a true and accurate copy of the Motion of Debtors for Entry of Interim and
17              Final Orders (I) Authorizing Debtors to (A) Maintain Insurance Policies, (B) Pay All

18              Related Obligations, and (II) Granting Related Relief filed in the Bankruptcy Action on

19              November 10, 2020 (Bankr. ECF 10).
20          •   Exhibit E: a true and accurate copy of the Interim Order (1) Authorizing Debtors to (A)
21              Maintain Insurance Policies, (B) Pay all Related Obligations, and (II) Granting Related

22              Relief filed in the Bankruptcy Action on November 10, 2020 (Bankr. ECF 31).

23          •   Exhibit F: a true and accurate copy of the Final Order (1) Authorizing Debtors to (A)
24              Maintain Insurance Policies, (B) Pay all Related Obligations, and (II) Granting Related

25              Relief filed in the Bankruptcy Action on December 18, 2020 (Bankr. ECF 248).

26          •   Exhibit G: a true and accurate copy of the Chapter 11 Voluntary Petition filed in the
27              Bankruptcy Action on November 7, 2020 (Bankr. ECF 1).

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 1          •   Exhibit H: a true and accurate copy of the Declaration of Grant Lyon in Support of
 2              Debtors’ Objection to Motion of James Alexander to Dismiss Cred Capital, Inc. filed in

 3              the Bankruptcy Action on January 28, 2021 (Bankr. ECF 433).

 4          •   Exhibit I: a true and accurate copy of the Supplemental Declaration in Support of the
 5              Debtors’ Application for an Order Approving Employment and Retention of Donlin,

 6              Recano & Company, Inc. as Administrative Advisor for Debtors filed in the Bankruptcy

 7              Action on December 4, 2020 (Bankr. ECF 130).

 8          •   Exhibit J: a true and accurate copy of the Motion of the Cred Inc. Liquidation Trust for
 9              Entry of Order Approving Third Party Claim Assignment Procedures filed in the

10              Bankruptcy Action on June 23, 2022 (Bankr. ECF 1015).

11          •   Exhibit K: a true and accurate copy of the Adversary Case 22-50474 Complaint by Cred
12              Inc. Liquidation Trust against Earnity, Inc., Earnity Financial Inc, ET Trader Inc.,

13              Domenic Carosa filed in the Bankruptcy Action on December 5, 2022 (Bankr. ECF

14              1063).

15          Judicial notice is appropriate “at any stage of the proceeding.” Fed. R. Evid. 201(d); see

16 also Lamke v. Sunstate Equip. Co., LLC, 319 F. Supp. 2d 1029, 1030 (N.D. Cal. 2004) (granting a

17 defendant’s request for judicial notice in support of its opposition to a motion for remand). The

18 Court may “judicially notice a fact that is not subject to reasonable dispute because it . . . can be

19 accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”
20 Fed. R. Evid. 201(b). The Court “must take judicial notice [of such facts] if a party requests it and

21 the court is supplied with the necessary information.” Fed. R. Evid. 201(c)(2).

22          First, courts regularly take judicial notice of “proceedings in other courts, . . . if those

23 proceedings have a direct relation to matters at issue.” Bennett v. Medtronic, Inc., 285 F.3d 801,

24 803 (9th Cir. 2002); see also Successor Agency to Former Emeryville Redevelopment Agency v.

25 Swagelock Co., 364 F. Supp. 3d 1061, 1083 (N.D. Cal. 2019) (“The ability to take judicial notice of

26 court filings extends to documents filed in federal bankruptcy court actions as well.”); Elec. Frontier

27 Found. v. Global Equity Mgmt. (SA) Pty Ltd., 290 F. Supp. 3d 923, 930 (N.D. Cal. 2007) (“The

28 Court may take judicial notice of court filings.”). And, regardless of content, “‘matters of public

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 1 record’” are judicially noticeable. Lee v. City of Los Angeles, 250 F.3d 668, 688-689 (9th Cir. 2001).

 2 Here, all of the Exhibits are court filings from the United States Bankruptcy Court for the District

 3 of Delaware, in proceedings that directly relate to the subject matter here, including the creation of

 4 the Plaintiff Trust, the Trust’s purported authority to take assignment of the claims at issue in this

 5 litigation, and the questions of law that give rise to removal jurisdiction. Indeed, bankruptcy records

 6 are exactly the type of “public record[s]” that courts take judicial notice of as a matter of course.1

 7          Second, Plaintiffs cannot reasonably dispute the facts of these proceedings, as they rely on

 8 those facts themselves. See, e.g., Ex. A (relied on and referenced in Plaintiff’s Notice of Motion

 9 and Motion to Remand (the “Motion”) at 3:19-25 and the First Amended Complaint (“FAC”) at 1

10 n.1; ¶ 13 & n.6); Ex. B (relied on and referenced in Mot. at 3:20-21 and FAC at 1, n.1; ¶¶ 13); Ex.

11 C (relied on and referenced in Mot. at 5:9-13 and FAC ¶¶ 18 & n.8, 20, 33, 81 & n.25, 92 & n.27-

12 28, 118, 119 & n.31); Ex. G (relied on and referenced in Mot. at 3:19-20); Ex. J (relied on and

13 referenced in Mot. at 4:15-21); see also Mot. at 3:22-23 (citing ECF 579-1 of the Bankruptcy

14 Action); 4:12-13 (citing Bankr. ECF 629); 4:22-24 (citing Bankr. ECF 1070), n.5 (citing Bankr.

15 ECF 10 and 12), n.6 (citing Bankr. ECF 605); 4:24-5:1 (citing Bankr. ECF 1076). Indeed, Plaintiffs

16 claim that Exhibits A and B are the very source that gives them authority to bring the claims alleged.

17 See FAC ¶ 13. Thus, the Exhibits are not “subject to reasonable dispute” and the Court should take

18 notice of them.

19          For the foregoing reasons, Lockton respectfully requests that the Court grant its motion for
20 judicial notice and take judicial notice of Exhibits A through K.

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       See, e.g., Reusser v. Wachovia Bank, N.A., 525 F.3d 855, 857 n.1 (9th Cir. 2008) (“We take
23 judicial notice of the bankruptcy court order, because it is a matter of public record.”); Biggs v.

24 Terhune, 334 F.3d 910, 915 n.3 (9th Cir. 2003) (“Materials from a proceeding in another tribunal
   are appropriate for judicial notice.”); In re Tuma, 916 F.2d 488, 491 (9th Cir. 1990) (“We may take
25 judicial notice of bankruptcy records in the underlying proceeding[.]”); Rosal v. First Fed. Bank of
   Cal., 671 F. Supp. 2d 1111, 1121 (N.D. Cal. 2009) (“As to the bankruptcy filings, the court takes
26 judicial notice of this information . . . [because] it is appropriate to take judicial notice of court
   filings and other matters of public record.”); In re: San Jose Airport Hotel, LLC, 2016 WL 3357175
27 at *4 n.1 (N.D. Cal. June 17, 2016) (“[T]ranscripts of hearings before the bankruptcy court” were

28 “‘not subject to resonable dispute[.]”); see also 11 U.S.C. § 107(a) (“[A] paper filed in a case under
   [the Bankruptcy Code] and the dockets of a bankruptcy court are public records.”).
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 1 DATED: March 3, 2023            Respectfully submitted,

 2

 3                                  By    /s/ Terry L. Wit____
                                         Terry L. Wit
 4
                                       Attorneys for Lockton Insurance Company LLC and
 5                                     Lockton Companies LLC – Pacific Series
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